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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

      TALIA N. HARRISON,

                     Plaintiff,

             vs.                                       Civil Action No. 4:21-cv-607-ALM

      TYLER TECHNOLOGIES, INC.,

                     Defendant.


                     PLAINTIFF’S MOTION FOR AWARD OF ATTORNEY’S FEES AND COSTS
                             PURSUANT TO THE FAIR LABOR STANDARDS ACT

             Plaintiff Talia N. Harrison moves the Court for an order awarding Attorney’s fees and costs

   of litigation pursuant to 29 U.S.C. § 216(c), showing the Court as follows:

 I.          INTRODUCTION

             On March 6, 2022, this Court granted [Dkt. 43] the Parties’ Joint Motion for Settlement

   Approval. Dkt. 40. Pursuant to that order, Plaintiff Talia Harrison now submit her attorneys’ billing

   records and records of the taxable costs to be entered in this case. Plaintiff seeks that the Judgment

   entered in this case include her costs of litigation, including her reasonable attorney’s fees, in the

   amount of $1,271.00 in costs $26,553.50 in attorney’s fees.

II.          ARGUMENT

        A.      Plaintiff’s Attorney’s Fees Incurred are Reasonable

             Prevailing FLSA plaintiffs are entitled to recover their costs of litigation, including

   reasonable attorney’s fees. Steele v. Leasing Enters, Ltd., 826 F.3d 237, 249 (5th Cir. 2016). In

   this case, the Parties agree that Plaintiff is entitled to recover her costs and fees pursuant to 29

   U.S.C. § 216(c). Dkt. 40, pp. 3–4; Dkt. 41, pg. 1 (E) (“the Court shall award reasonable attorneys’

   fees and costs pursuant to 29 U.S.C. § 216 upon a fee application by Plaintiff.”).
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       Plaintiffs seeking to recover costs and fees must demonstrate that the amounts sought are

reasonable. Black v. SettlePou, P.C., 732 F.3d 492, 502 (5th Cir. 2013). Courts in the Fifth Circuit

use the “lodestar” method to calculate attorney’s fees (i.e., “multiplying the hours an attorney

reasonably spent on the case by an appropriate hourly rate”). Id. (quoting Heidtman v. Cty. of

El Paso, 171 F.3d 1038, 1043 (5th Cir. 1999). Thus, plaintiffs must demonstrate that (1) the

billing rate sought by their attorneys is in line with the market rate in the community for such work;

and (2) that their attorneys exercised billing judgement. Id. (citing Saizan v. Delta Concrete Prod.

Co, 448 F.3d 795, 799 (5th Cir. 2006).

       To determine the hours reasonably expended, “[t]he relevant issue . . . is not whether

hindsight vindicates an attorney’s time expenditures, but whether, at the time the work was

performed, a reasonable attorney would have engaged in similar time expenditures.” Wooldridge

v. Marlene Indus. Corp., 898 F.2d 1169, 1177 (6th Cir. 1990). Similarly, the Eighth Circuit

explained in Jenkins v. Missouri that, when calculating a fee award, the focus is on whether the

time expenditures were reasonable, not whether the attorney won each and every disputed issue:

       A court’s focus should not be limited to the success/failure of each of the attorney’s
       actions. Rather, it should be upon whether those actions were reasonable . . . .
       Lawsuits usually involve many reasonably disputed issues and a lawyer who takes
       on only those battles he is certain of winning is probably not serving his client
       vigorously enough; losing is part of winning.

127 F.3d 709, 718 (8th Cir. 1997) (internal citations omitted). The key issue is whether a

reasonable attorney would have engaged in similar time expenditures at the time the work was

performed.

       A court should give deference to a lawyer’s professional judgment as to how much time

was necessary to spend on the case. Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir.

2008). This principle flows from the fact that an attorney is naturally incentivized to work



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efficiently and reasonably in cases where the attorney remains uncompensated for his or her time

until the end of the case. See id. (“[L]awyers are not likely to spend unnecessary time on

contingency fee cases in the hope of inflating their fees. The payoff is too uncertain, as to both the

result and the amount of the fee”). Plaintiff’s attorneys working under these circumstances expend

their time and effort without knowing whether they will be paid for it; thus, they have an incentive

to spend as little time on each particular task as is reasonably necessary to competently and

diligently carry out the representation. See id.

       In awarding fees, a district court must “provide a concise but clear explanation of its

reasons for the fee award.” See Hensley, 461 U.S. at 437; see also Gurule v. Land Guardian, Inc.,

912 F.3d 252, 258 (5th Cir. 2018) (same).

       Thereafter, courts apply the “Johnson factors1” to determine whether counsel’s

performance requires an upward or downward adjustment. Johnson v. Georgia Highway

Express, 488 F.2d 714 (5th Cir. 1974) abrogated on other grounds by Blanchard v. Bergeron, 489

U.S. 87 (1989); see also Hensley v. Eckerhart, 461 U.S. 424, 433–34 (1983). However, “[t]here is

a strong presumption of the reasonableness of the lodestar amount.” Id. (citing Perdue v. Kenny

A., 559 U.S. 542, 552 (2010).

       In this case, Plaintiff’s counsel have provided detailed billing records containing the time

each spent on various tasks in this case, and detailed descriptions of those tasks. Exhibit 1



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     The Johnson factors are: (1) the time and labor required; (2) the novelty and difficulty of the
questions; (3) the skill requisite to perform the legal services properly; (4) the preclusion of other
employment by the attorney due to acceptance of the case; (5) the customary fee [for similar
work in the community]; (6) whether the fee is fixed or contingent; (7) time limitations imposed
by the client or the circumstances; (8) the amount involved and the results obtained; (9) the
experience, reputation, and ability of the attorney; (10) the “undesirability” of the case; (11) the
nature and length of the professional relationship with the client; and (12) awards in similar
cases. 488 F.2d at 717–19.

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(Declaration of Melinda Arbuckle); Exhibit 2 (Declaration of Charles R. Bridgers). Counsel

endeavored not to bill for duplicative work, and to only bill for time spent in the service of the best

interest of the client. Exhibit 2, ¶¶ 20, 22; see Gurule v. Land Guardian, Inc., 912 F.3d 252, 262–

63 (5th Cir. 2018) (Ho, J., concurring). The hours submitted in this case are clearly reasonable;

Plaintiff’s counsel have incurred less than $27,000 in fees after completing written discovery,

Plaintiff’s deposition, summary judgment briefing, other motion practice, mediation, and the

present briefing.

        This case was prosecuted predominantly by Matthew W. Herrington, Of Counsel with the

firm DeLong Caldwell Bridgers Fitzpatrick & Benjamin, LLC, in Atlanta, Georgia. Mr. Herrington

worked under the administrative supervision of Managing Member Charles R. Bridgers and Local

Counsel Melinda Arbuckle. Counsel have attached evidence of the reasonableness of their rates in

attached declarations. Exhibit 1, ¶¶ 8–9; Exhibit 2, ¶¶ 14–16; Exhibit 3 (Declaration of Matthew

W. Herrington), ¶¶ 6–7. Additionally, as shown in an attachment to the Declaration of attorney

Melinda Arbuckle, the rates billed by all of Plaintiffs’ counsel fall within a range that is reasonable

in the Eastern District of Texas. Exhibit 1, ¶¶ 8–9 (Exhibit 3 thereto). Courts in other federal district

courts have similarly determined that the rates of attorneys Bridgers and Herrington are reasonable

given their extensive experience in FLSA litigation. Exhibit 2, ¶¶ 14–16; Exhibit 3, ¶¶ 6–7.

Moreover, Plaintiff’s counsel has testified that other attorneys would not have been able to

represent Plaintiff as efficiently due to their previous experience in FLSA litigation with this

Defendant. Exhibit 3, ¶ 10–11.

        Managing Member Charles Bridgers has reviewed the billing in this case and has

eliminated over $2,000 in fees in the exercise of billing judgment. Exhibit 2, ¶ 20.




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        Thus, through their declarations, Plaintiff’s counsel have submitted sufficient evidence to

meet their burden to demonstrate that the rates sought are reasonable and that their hours billed

were reasonable. Accordingly, counsel’s request for legal fees in the amount of $26,553.50 is

reasonable and should be granted.

   B.      Plaintiff Does Not Seek an Upward or Downward Adjustment of the Lodestar

        Plaintiff does not seek either an upward or a downward adjustment of the lodestar and thus

does not address the Johnson factors in this brief. Should Defendants argue in response that a

downward adjustment is appropriate, Plaintiff will address such arguments in her Reply.

   C.      Plaintiff is Entitled to Recover Her Costs of Litigation

        Section 26(b) of the FLSA also provides for an award of costs to a prevailing plaintiff. 29

U.S.C. § 216(b); see also Rule 54(d) (mandating an award of costs to a prevailing party). Costs

recoverable under Rule 54(d) are identified in 28 U.S.C. § 1920. Walton v. United Consumers

Club, 786 F. 2d 303, 316 (7th Cir. 1986). “Reimbursement for travel, meals, lodging,

photocopying, long-distance phone calls, computer legal research, postage, courier service,

mediation, exhibits, document scanning, and visual equipment are the types of litigation expenses

that are recoverable under the FLSA as part of an attorneys’ fee award.” Alex v. KHG of San

Antonio, LLC, 125 F. Supp. 3d 619, 630 (W.D. Tex. 2015).

        Plaintiff seeks $1,271.00 in costs. These costs are itemized in Exhibit 2, ¶ 9 (and

Attachment B thereto) and fall into the categories of filing fees, service costs, and pro hac vice

admission fees. The amounts were all necessarily and unavoidably incurred, each cost is described

sufficiently demonstrating that it was necessarily incurred. Accordingly, Plaintiff requests an

award of all costs in the total amount of $1,271.00.




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III.        CONCLUSION

            As a prevailing plaintiff under the FLSA, Plaintiff Harrison is entitled to an award of her

   costs of litigation and reasonable attorney’s fees incurred in obtaining that result. Based on the

   foregoing, Plaintiff requests that the Court issue a final judgment in her favor including $26,553.50

   in attorney’s fees and $1,271.00 in costs, in addition to post-judgment interest at the prevailing

   rate. See 28 U.S.C. § 1961(a). Plaintiff requests such other and further relief to which she is justly

   entitled.

   Respectfully submitted this 21st day of March 2023,



                                                      DELONG CALDWELL BRIDGERS
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                             CERTIFICATE OF CONFERENCE

        On February 27, 2023, counsel for Plaintiff and counsel for Defendant entered into a
settlement agreement contemplating that Defendant would oppose the amount of fees sought by
Plaintiff’s counsel. Defendant is not opposed to an award of attorney’s fees sought by this motion,
but has expressed that it will challenge the amount of fees.

                                                  s/ Matthew W. Herrington
                                                  Matthew W. Herrington


                                CERTIFICATE OF SERVICE

     On March 21, 2023, I filed the foregoing document with the Clerk of Court using the
CM/ECF system. I certify that all counsel of record were served electronically thereby.

                                                  s/ Melinda Arbuckle
                                                  Melinda Arbuckle




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